                Case 19-31430              Doc 1        Filed 08/30/19           Entered 08/30/19 15:10:52                    Page 1 of 84 8/30/19 3:08PM

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF CONNECTICUT

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Ace Begonias Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  231 Seymour Road                                                66 Bear Hill Road
                                  Woodbridge, CT 06525                                            Bethany, CT 06524
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  New Haven                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 19-31430                 Doc 1         Filed 08/30/19           Entered 08/30/19 15:10:52                         Page 2 of 84 8/30/19 3:08PM
Debtor    Ace Begonias Inc.                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                                                                                                                  Owner of Ace
     attach a separate list                       Debtor     Paul Rieur                                                      Relationship             Begonias
                                                             Connecticut at New
                                                  District   Haven                         When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor   Ace Begonias Inc.                                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                 Case 19-31430            Doc 1        Filed 08/30/19             Entered 08/30/19 15:10:52                     Page 4 of 84 8/30/19 3:08PM
Debtor    Ace Begonias Inc.                                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 30, 2019
                                                  MM / DD / YYYY


                             X   /s/ Paul R. Rieur                                                        Paul R. Rieur
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Member/Manager




18. Signature of attorney    X   /s/ Anthony S. Novak                                                      Date August 30, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Anthony S. Novak
                                 Printed name

                                 Novak Law Office, P.C.
                                 Firm name

                                 280 Adams Street
                                 Manchester, CT 06042
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     860-432-7710                  Email address      anthonysnovak@aol.com

                                 ct09074 CT
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
              Case 19-31430                    Doc 1           Filed 08/30/19             Entered 08/30/19 15:10:52             Page 5 of 84 8/30/19 3:08PM




 Fill in this information to identify the case:

 Debtor name         Ace Begonias Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          August 30, 2019                         X /s/ Paul R. Rieur
                                                                       Signature of individual signing on behalf of debtor

                                                                       Paul R. Rieur
                                                                       Printed name

                                                                       Member/Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
                Case 19-31430                            Doc 1              Filed 08/30/19                         Entered 08/30/19 15:10:52                                       Page 6 of 84 8/30/19 3:08PM
 Fill in this information to identify the case:

 Debtor name            Ace Begonias Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                     12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                     0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $           174,032.60

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $           174,032.60


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $                    10.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $            50,787.21

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$        1,908,998.30


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           1,959,795.51




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                            Best Case Bankruptcy
              Case 19-31430                    Doc 1           Filed 08/30/19      Entered 08/30/19 15:10:52                   Page 7 of 84 8/30/19 3:08PM
 Fill in this information to identify the case:

 Debtor name         Ace Begonias Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     New Haven Bank #6962                                    Checking                        6962                                         $32.60



 4.        Other cash equivalents (Identify all)


           4.1.     Check for $140,000.00 from sale of Real Estate                                                                                $140,000.00




 5.        Total of Part 1.                                                                                                                   $140,032.60
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Ace Begonias Inc.                                                                 Case number (If known)
                Name


            11b. Over 90 days old:                                   4,000.00   -                          4,000.00 =....                    Unknown
                                              face amount                           doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                                  $0.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 2
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
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 Debtor         Ace Begonias Inc.                                                            Case number (If known)
                Name


        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           possible escrow funds being held by Internal Revenue
           Service in regards to previous quarterly taxes 941/943
           approximately $77,000.00 may be subject to setoff or
           claim by Internal Revenue Service                                                                                           Unknown


           State of Connecticut Department of Revenue services
           may have claim for $34,000.00 dispursed on July 19,
           2019 on sale of debtor's real property may be subject to
           setoff or claim by the State of Connecticut. See
           Attached closing statement                                                                                                $34,000.00




 78.       Total of Part 11.                                                                                                       $34,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                              page 3
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 Debtor          Ace Begonias Inc.                                                                                   Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $140,032.60

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $34,000.00

 91. Total. Add lines 80 through 90 for each column                                                            $174,032.60           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $174,032.60




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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Case 19-31430   Doc 1   Filed 08/30/19   Entered 08/30/19 15:10:52   Page 11 of 84
             Case 19-31430                    Doc 1           Filed 08/30/19              Entered 08/30/19 15:10:52                   Page 12 of 848/30/19 3:08PM
 Fill in this information to identify the case:

 Debtor name         Ace Begonias Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Advantage Capital Funding                      Describe debtor's property that is subject to a lien                          $1.00                    $0.00
       Creditor's Name
       Attn: President
       104 E. 25th Street
       10th Floor
       New York, NY 10010
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Agco Finance, LLC                              Describe debtor's property that is subject to a lien                          $1.00                    $0.00
       Creditor's Name
       Attn: President
       PO Box 2000
       Johnston, IA 50131
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 5
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             Case 19-31430                    Doc 1           Filed 08/30/19              Entered 08/30/19 15:10:52             Page 13 of 848/30/19 3:08PM
 Debtor       Ace Begonias Inc.                                                                        Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Axos Bank                                      Describe debtor's property that is subject to a lien                     $1.00               $0.00
       Creditor's Name
       Attn: President
       9205 West Russell Road
       Suite 400
       Las Vegas, NV 89148
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Corporate Service
 2.4                                                                                                                           $1.00               $0.00
       Company                                        Describe debtor's property that is subject to a lien
       Creditor's Name
       Attn: President
       P.O. Box 2576
       Springfield, IL 62708
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   CT Corporation System                          Describe debtor's property that is subject to a lien                     $1.00               $0.00
       Creditor's Name
       Attn President
       330 N. Brand Blvd. #700
       Glendale, CA 91203
       Creditor's mailing address                     Describe the lien
                                                      UCC filing


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 5
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 Debtor       Ace Begonias Inc.                                                                        Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   DLI Assets Bravo LLC                           Describe debtor's property that is subject to a lien                     $1.00               $0.00
       Creditor's Name
       Attn: President
       550 North Brand Blvd.
       Suite 2000
       Glendale, CA 91203
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Griffin Greenhouse
 2.7                                                                                                                           $1.00               $0.00
       Supplies                                       Describe debtor's property that is subject to a lien
       Creditor's Name
       Attn: President
       1619 Main Street
       Tewksbury, MA 01876
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 5
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 Debtor       Ace Begonias Inc.                                                                        Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.8   ROC Funding Group                              Describe debtor's property that is subject to a lien                     $1.00               $0.00
       Creditor's Name
       Attn: President
       260 Christopher Ln
       Staten Island, NY 10314
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.9   State of Connecticut                           Describe debtor's property that is subject to a lien                     $1.00               $0.00
       Creditor's Name
       Dept. of Labor
       Attn: Clerk
       200 Folly Brook Boulevard
       Wethersfield, CT 06109
       Creditor's mailing address                     Describe the lien
                                                      UCC filing
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.1
 0     Webster Bank, NA                               Describe debtor's property that is subject to a lien                     $1.00               $0.00
       Creditor's Name
       Attn: President
       Mail Code - NB150
       436 Slater Road
       New Britain, CT 06053
       Creditor's mailing address                     Describe the lien
                                                      UCC filing

Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 5
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 Debtor       Ace Begonias Inc.                                                                        Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                 $10.00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 5
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 Fill in this information to identify the case:

 Debtor name         Ace Begonias Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,635.99         $2,635.99
           Barbara Hagen-Smith                                       Check all that apply.
           116 Northrop Road                                            Contingent
           Woodbridge, CT 06525                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $150.00         $150.00
           Clifford Strumello                                        Check all that apply.
           15 Cemetary Road                                             Contingent
           Seymour, CT 06483                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 23
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 Debtor       Ace Begonias Inc.                                                                               Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $301.81     $301.81
          Denise Arpino                                              Check all that apply.
          33 Andrews Avenue                                             Contingent
          Milford, CT 06460                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,746.98    $2,746.98
          Hans David Shmigelsky                                      Check all that apply.
          211 Wooding Hill Road                                         Contingent
          Bethany, CT 06524                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,164.82    $5,164.82
          Henry Cushman                                              Check all that apply.
          252 Leetes Island Road                                        Contingent
          Trailer 21                                                    Unliquidated
          Branford, CT 06405                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,032.89    $6,032.89
          Hugo Soriano                                               Check all that apply.
          7 Star Avenue #3                                              Contingent
          Danbury, CT 06810                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 23
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 Debtor       Ace Begonias Inc.                                                                               Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1.00    $1.00
          Internal Revenue Service                                   Check all that apply.
          Attn: Special Procedures                                      Contingent
          135 High Street, Stop 155                                     Unliquidated
          Hartford, CT 06103                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,382.83    $3,382.83
          Lizeth Perez                                               Check all that apply.
          87 Kensington Street                                          Contingent
          New Haven, CT 06511                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,841.62    $3,841.62
          Marta German                                               Check all that apply.
          1170 Johnson Road                                             Contingent
          Woodbridge, CT 06525                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $13,250.54    $13,250.54
          Nathan Guzzo                                               Check all that apply.
          29 Curtis Avenue                                              Contingent
          Wallingford, CT 06492                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 3 of 23
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              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $769.80     $769.80
          Pamela Davison                                             Check all that apply.
          231 Seymour Road                                              Contingent
          Woodbridge, CT 06525                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1.00    $1.00
          State of Connecticut                                       Check all that apply.
          Dept. of Revenue Services                                     Contingent
          C&E Division, Bankruptcy Unit                                 Unliquidated
          450 Columbus Blvd., Suite 1                                   Disputed
          Hartford, CT 06103
          Date or dates debt was incurred                            Basis for the claim:
          2019                                                       sales and use tax for Ace Begonias
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,488.59    $2,488.59
          Town of Bethany                                            Check all that apply.
          Attn: Clerk                                                   Contingent
          40 Peck Rd                                                    Unliquidated
          Bethany, CT 06524                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $1.00    $1.00
          Town of Woodbridge                                         Check all that apply.
          Attn: Town Clerk                                              Contingent
          11 Meetinghouse Ln                                            Unliquidated
          Woodbridge, CT 06525                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 4 of 23
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 Debtor        Ace Begonias Inc.                                                                              Case number (if known)
               Name

 2.15       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $3,884.50    $3,884.50
            Wendy Rutkin                                             Check all that apply.
            120 Dwight Street                                           Contingent
            Apt. 408                                                    Unliquidated
            New Haven, CT 06511                                         Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $6,133.84    $6,133.84
            William Lasse                                            Check all that apply.
            130 Hill Street                                             Contingent
            Shelton, CT 06484                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:


            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $5,413.29
           A.D.R. Bulbs Inc.                                                           Contingent
           Attn: President                                                             Unliquidated
           P.O. Box 538
                                                                                       Disputed
           Chester, NY 10918
           Date(s) debt was incurred
                                                                                   Basis for the claim:     vendor
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $169,050.00
           Advantage Capital Funding
           Attn: President                                                             Contingent
           104 E. 25th Street                                                          Unliquidated
           10th Floor                                                                  Disputed
           New York, NY 10010
                                                                                   Basis for the claim:     vendor
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                          $1.00
           Agco Finance, LLC                                                           Contingent
           Attn: President                                                             Unliquidated
           PO Box 2000                                                                 Disputed
           Johnston, IA 50131
                                                                                   Basis for the claim:     vendor
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 5 of 23
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              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $494.24
          All American Waste                                                    Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 630                                                          Disputed
          East Windsor, CT 06088
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       3934                         Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $347.98
          Allen's Plumbing Supply
          Attn: President                                                       Contingent
          145 Bank Street                                                       Unliquidated
          RT 67                                                                 Disputed
          Seymour, CT 06483
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       104                          Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Amerigas                                                              Contingent
          Attn: President                                                       Unliquidated
          P.O.Box 371473
                                                                                Disputed
          Pittsburgh, PA 15250
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,293.84
          Amica Mutual Insurance Co.
          Attn: President                                                       Contingent
          ICS Claims                                                            Unliquidated
          930 Sunrise Highway                                                   Disputed
          West Babylon, NY 11704
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0170                         Is the claim subject to offset?     No       Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $79,815.07
          ARIS Horticulture Inc.                                                Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 1236                                                         Disputed
          Butler, PA 16003
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       4488                         Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $216,767.04
          Ball Horticultural Company                                            Contingent
          Attn: President                                                       Unliquidated
          75 Remittance Dr, Suite 1114                                          Disputed
          Chicago, IL 60675
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       6958                         Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Berneckers Nursery
          Attn: President                                                       Contingent
          P.O. Box 122647                                                       Unliquidated
          Dept. 2647                                                            Disputed
          Dallas, TX 75312
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 23
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              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Bethany Farm & Nursery LLC                                            Contingent
          671 Aspen Lane                                                        Unliquidated
          Orange, CT 06477
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Bethany Fuel LLC Inc.                                                 Contingent
          Attn: President                                                       Unliquidated
          861 LItchfield Avenue
                                                                                Disputed
          Bethany, CT 06524
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Blue Vine Capital                                                     Contingent
          Attn: President                                                       Unliquidated
          401 Warren Street
                                                                                Disputed
          Redwood City, CA 94063
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Boyd Nurseries                                                        Contingent
          Attn: President                                                       Unliquidated
          1534 B Road
                                                                                Disputed
          Loxahatchee, FL 33470
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $700.00
          Business GPS                                                          Contingent
          Attn: Christy Brown                                                   Unliquidated
          183 Keith Street                                                      Disputed
          Warrenton, VA 20186
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Capital Caladiums                                                     Contingent
          Attn: President                                                       Unliquidated
          81 Bates Road
                                                                                Disputed
          Lake Placid, FL 33852
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,680.60
          Capital One Bank                                                      Contingent
          Attn: President                                                       Unliquidated
          PO Box 71083                                                          Disputed
          Charlotte, NC 28272
                                                                             Basis for the claim:    credit card
          Date(s) debt was incurred
          Last 4 digits of account number       2658                         Is the claim subject to offset?     No       Yes




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 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,968.00
          Cardmember Service                                                    Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 790408                                                       Disputed
          Saint Louis, MO 63179
                                                                             Basis for the claim:    credit card
          Date(s) debt was incurred
          Last 4 digits of account number       8243                         Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,775.25
          Cardmember Service                                                    Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 790408                                                       Disputed
          Saint Louis, MO 63179
                                                                             Basis for the claim:    credit card
          Date(s) debt was incurred
          Last 4 digits of account number       3203                         Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,490.05
          Cardmember Service                                                    Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 790408                                                       Disputed
          Saint Louis, MO 63179
                                                                             Basis for the claim:    credit card
          Date(s) debt was incurred
          Last 4 digits of account number       0887                         Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,399.36
          Cash Flow Managemnet Inc.
          Attn: President                                                       Contingent
          P.O. Box 42407                                                        Unliquidated
          5530 S.E. Center Street                                               Disputed
          Portland, OR 97242
                                                                             Basis for the claim:    collection agency for Panzer Nursery
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $138,379.28
          Citizen's Bank                                                        Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 42002                                                        Disputed
          Providence, RI 02940
                                                                             Basis for the claim:    bank fees
          Date(s) debt was incurred
          Last 4 digits of account number       0383                         Is the claim subject to offset?     No       Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Colonial Florists
          Attn: President                                                       Contingent
          58 Broadway Avenue                                                    Unliquidated
          St. Catherines Ontario ONTL2m4                                        Disputed
          Canada
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,341.63
          Comcast                                                               Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 70219                                                        Disputed
          Philadelphia, PA 19176
                                                                             Basis for the claim:    utility
          Date(s) debt was incurred
          Last 4 digits of account number       0909                         Is the claim subject to offset?     No       Yes




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 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $23.40
          Connecticut Communications                                            Contingent
          Attn: President                                                       Unliquidated
          48 Ozick Drive                                                        Disputed
          Durham, CT 06422
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       O239                         Is the claim subject to offset?     No       Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Corporation Service Co.                                               Contingent
          Attn President                                                        Unliquidated
          P. O. Box 2576                                                        Disputed
          Springfield, IL 62708
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          CT Corporation System                                                 Contingent
          Attn President                                                        Unliquidated
          330 N. Brand Blvd. #700                                               Disputed
          Glendale, CA 91203
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Daddio's Used Auto Parts                                              Contingent
          Attn: Manager                                                         Unliquidated
          728 Derby Ave #A
                                                                                Disputed
          Seymour, CT 06483
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Direct Energy                                                         Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 70220
                                                                                Disputed
          Philadelphia, PA 19176
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          DLI Assets Bravo LLC
          Attn: President                                                       Contingent
          550 North Brand Blvd.                                                 Unliquidated
          Suite 2000                                                            Disputed
          Glendale, CA 91203
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Ellen Kolarik                                                         Contingent
          1759 Mariposa Circle                                                  Unliquidated
          Davis, CA 95618
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,941.94
          Eversource                                                            Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 56002                                                        Disputed
          Boston, MA 02205
                                                                             Basis for the claim:    utility
          Date(s) debt was incurred
          Last 4 digits of account number       3030                         Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,626.33
          Eversource                                                            Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 56002                                                        Disputed
          Boston, MA 02205
                                                                             Basis for the claim:    utility
          Date(s) debt was incurred
          Last 4 digits of account number       3068                         Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,860.29
          Eversource                                                            Contingent
          Attn: Bankruptcy or Legal Dept                                        Unliquidated
          107 Selden Street                                                     Disputed
          Berlin, CT 06037
                                                                             Basis for the claim:    utility
          Date(s) debt was incurred
          Last 4 digits of account number       7098                         Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $184,679.56
          Evo Merchant Services LLC
          Attn: President                                                       Contingent
          Zenith Merchant Services                                              Unliquidated
          3801 Arapaho Road                                                     Disputed
          Addison, TX 75001
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Exotic Botanicals                                                     Contingent
          Attn: President                                                       Unliquidated
          14450 SW 216th Street
                                                                                Disputed
          Miami, FL 33170
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Family Petrolium                                                      Contingent
          Attn: President                                                       Unliquidated
          54 New Haven Road
                                                                                Disputed
          Seymour, CT 06483
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Family Sunoco                                                         Contingent
          Attn: Manager                                                         Unliquidated
          54 New Haven Rd
                                                                                Disputed
          Seymour, CT 06483
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,051.41
          Federal Oil                                                           Contingent
          Attn: President                                                       Unliquidated
          220 Wallace Street
                                                                                Disputed
          New Haven, CT 06511
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Gempler                                                               Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 5176
                                                                                Disputed
          Janesville, WI 53547
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $27,556.95
          Geremia Greenhouse                                                    Contingent
          Attn: President                                                       Unliquidated
          415 Barnes Road                                                       Disputed
          Wallingford, CT 06492
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,804.81
          Green Island Distributors, Inc                                        Contingent
          Attn: President                                                       Unliquidated
          730 West Main Street                                                  Disputed
          Riverhead, NY 11901
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Gregory Floral Inc.
          Attn: President                                                       Contingent
          1464 Gregory Road                                                     Unliquidated
          St. Catherines Ontario L2R 6P9                                        Disputed
          Canada
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $110,000.00
          Griffin Greenhouse Supplies                                           Contingent
          Attn: President                                                       Unliquidated
          1619 Main Street
                                                                                Disputed
          Tewksbury, MA 01876
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $227.58
          Hampshire Paper                                                       Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 783775                                                       Disputed
          Philadelphia, PA 19178
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       0501                         Is the claim subject to offset?     No       Yes




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 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Hazelton Shaft                                                        Contingent
          Attn: President                                                       Unliquidated
          414 Shaft Road
                                                                                Disputed
          Hazleton, PA 18201
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Hocon Gas                                                             Contingent
          Attn: President                                                       Unliquidated
          20 Railroad Hill Street
                                                                                Disputed
          Waterbury, CT 06708
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          HOCON Industrial Gas                                                  Contingent
          Attn: President                                                       Unliquidated
          86 Payne Road
                                                                                Disputed
          Danbury, CT 06810
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $984.00
          IGI Marketing Inc.                                                    Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 1085                                                         Disputed
          Sorrento, FL 32776
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       8208                         Is the claim subject to offset?     No       Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Innorvative Systems Inc.                                              Contingent
          Attn: President                                                       Unliquidated
          22 Middlefield Road
                                                                                Disputed
          Oxford, CT 06478
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Joneser Express                                                       Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 872
                                                                                Disputed
          Windsor Locks, CT 06096
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,676.20
          Juniper Biz Card                                                      Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 23066                                                        Disputed
          Columbus, GA 31902
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       4989                         Is the claim subject to offset?     No       Yes




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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,713.25
          K & M Nursery                                                         Contingent
          Attn: President                                                       Unliquidated
          8289 W. Boynton Beach Blvd
                                                                                Disputed
          Boynton Beach, FL 33472
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Kabbage Inc.                                                          Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 77081
                                                                                Disputed
          Atlanta, GA 30357
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,469.08
          KOBA                                                                  Contingent
          Attn: President                                                       Unliquidated
          60 Baekeland Avenue                                                   Disputed
          Middlesex, NJ 08846
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $90.85
          Livingston International
          Attn: President                                                       Contingent
          6700 Cote De Liesse                                                   Unliquidated
          Bureau 300                                                            Disputed
          St. Laurent PQ H4T2B5
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Loan Star Repair Service                                              Contingent
          Attn: Manager                                                         Unliquidated
          780 Pacific St
                                                                                Disputed
          Stamford, CT 06902
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $585.00
          Lucas Greenhouses                                                     Contingent
          Attn: Manager                                                         Unliquidated
          1049 Whig Lane                                                        Disputed
          Monroeville, NJ 08343
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       1129                         Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,537.50
          McHutchison                                                           Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 92170                                                        Disputed
          Elk Grove Village, IL 60009
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,928.16
          Messick Company                                                       Contingent
          Attn: President                                                       Unliquidated
          142 North Central Avenue                                              Disputed
          Campbell, CA 95008
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,177.19
          Monrovia Nursery Company                                              Contingent
          Attn: President                                                       Unliquidated
          41 Floydville Rd                                                      Disputed
          Granby, CT 06035
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       1988                         Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $151.38
          MTA Bridges and Tunnels                                               Contingent
          Attn: Clerk                                                           Unliquidated
          PO Box 149001                                                         Disputed
          Staten Island, NY 10314
                                                                             Basis for the claim:    tolls
          Date(s) debt was incurred
          Last 4 digits of account number       7034                         Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Mulvehill                                                             Contingent
          Attn: President                                                       Unliquidated
          9821 Happy Hollow Road
                                                                                Disputed
          Delray Beach, FL 33446
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Outfront Media                                                        Contingent
          Attn: President                                                       Unliquidated
          185 US 46
                                                                                Disputed
          Fairfield, NJ 07004
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Panzaer Nursery                                                       Contingent
          Attn: President                                                       Unliquidated
          17980 W. Baseline Road
                                                                                Disputed
          Beaverton, OR 97006
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,272.09
          Payment Processing Center                                             Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 22019                                                        Disputed
          Albany, NY 12201
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       1904                         Is the claim subject to offset?     No       Yes




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 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,627.53
          Phoenix Propane                                                       Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 540                                                          Disputed
          Oxford, CT 06478
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       4777                         Is the claim subject to offset?     No       Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Plants in Design Inc.                                                 Contingent
          Attn: President                                                       Unliquidated
          20905 SW 162nd Avenue
                                                                                Disputed
          Miami, FL 33187
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Pride Garden                                                          Contingent
          Attn: President                                                       Unliquidated
          500 W. Sellers Avenue
                                                                                Disputed
          Ridley Park, PA 19078
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Razbutton Inc.                                                        Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 783006
                                                                                Disputed
          Winter Garden, FL 34778
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,499.87
          Reading Anthracite Company
          Attn: President                                                       Contingent
          DAL Inc.                                                              Unliquidated
          P.O. Box 162                                                          Disputed
          Clifton Heights, PA 19018
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number       5328                         Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Richard D. Smith & Co. Inc.                                           Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 734
                                                                                Disputed
          Middletown, NJ 07748
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $52,666.76
          ROC Funding Group                                                     Contingent
          Attn: President                                                       Unliquidated
          260 Christopher Ln                                                    Disputed
          Staten Island, NY 10314
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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              Name

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Ryder Transportation                                                  Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 96723
                                                                                Disputed
          Chicago, IL 60693
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $360,000.00
          Sachem Capital Corp                                                   Contingent
          Attn: President                                                       Unliquidated
          23 Laurel Street
                                                                                Disputed
          Branford, CT 06405
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,567.70
          Salmon Foliage                                                        Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 519                                                          Disputed
          Sorrento, FL 32776
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Star Insurance Co.                                                    Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 31130
                                                                                Disputed
          Tampa, FL 33631
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Stewarts Greenhouse Inc.                                              Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 1848
                                                                                Disputed
          Mount Dora, FL 32756
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,258.33
          TD Bank                                                               Contingent
          Attn: President                                                       Unliquidated
          P.O. Box 16027                                                        Disputed
          Lewiston, ME 04243
                                                                             Basis for the claim:    bank fees
          Date(s) debt was incurred
          Last 4 digits of account number       4433                         Is the claim subject to offset?     No       Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $48.00
          Tire Shak Inc.                                                        Contingent
          Attn: President                                                       Unliquidated
          12 Great Hill Road                                                    Disputed
          Ansonia, CT 06401
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Troy Industrial Solutions                                             Contingent
          Attn: President                                                       Unliquidated
          30 Maple Street
                                                                                Disputed
          Ansonia, CT 06401
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Valley Discount Oil                                                   Contingent
          Attn: President                                                       Unliquidated
          76 Bank Street
                                                                                Disputed
          Seymour, CT 06483
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Valley Heating Oil LLC                                                Contingent
          Attn: President                                                       Unliquidated
          76 Bank Street
                                                                                Disputed
          Portland, CT 06480
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,176.48
          W.W. Grainger                                                         Contingent
          Attn: President                                                       Unliquidated
          14441 Il Route 60                                                     Disputed
          Lake Forest, IL 60045
                                                                             Basis for the claim:    vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $1.00
          Waterfields Farm                                                      Contingent
          Attn: President                                                       Unliquidated
          93 Peck Road
                                                                                Disputed
          Bethany, CT 06524
          Date(s) debt was incurred
                                                                             Basis for the claim:    vendor
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $63,492.04
          Webster Bank                                                          Contingent
          Attn: President                                                       Unliquidated
          696 Amity Road                                                        Disputed
          Bethany, CT 06524
                                                                             Basis for the claim:    loan
          Date(s) debt was incurred
          Last 4 digits of account number       1029                         Is the claim subject to offset?     No       Yes


 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $83,177.81
          Webster Bank                                                          Contingent
          Attn: President                                                       Unliquidated
          696 Amity Rd                                                          Disputed
          Bethany, CT 06524
                                                                             Basis for the claim:    loan
          Date(s) debt was incurred
          Last 4 digits of account number       1946                         Is the claim subject to offset?     No       Yes




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              Name

 3.88      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $4,563.63
           Webster Bank                                                         Contingent
           Attn: President                                                      Unliquidated
           696 Amity Road                                                       Disputed
           Bethany, CT 06524
                                                                             Basis for the claim:    loan
           Date(s) debt was incurred
           Last 4 digits of account number      0305                         Is the claim subject to offset?     No       Yes


 3.89      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $2,176.48
           Wholesale Collectors                                                 Contingent
           Attn: President                                                      Unliquidated
           P.O. Box 5213                                                        Disputed
           Janesville, WI 53547
                                                                             Basis for the claim:    vendor
           Date(s) debt was incurred
           Last 4 digits of account number      4373                         Is the claim subject to offset?     No       Yes


 3.90      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $8,400.00
           Wojtowicz LLC                                                        Contingent
           Attn: President                                                      Unliquidated
           100 Bank Street                                                      Disputed
           Seymour, CT 06483
                                                                             Basis for the claim:    accountants
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes


 3.91      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $24,339.30
           World Business Lenders
           Attn: Donald Jackson                                                 Contingent
           101 Hudson Street                                                    Unliquidated
           33rd Floor                                                           Disputed
           Jersey City, NJ 07302
                                                                             Basis for the claim:    loan
           Date(s) debt was incurred
           Last 4 digits of account number      9646                         Is the claim subject to offset?     No       Yes


 3.92      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $183,814.97
           World Pay US, Inc.
           Attn: President                                                      Contingent
           201 17th Street NW                                                   Unliquidated
           Suite 1000                                                           Disputed
           Atlanta, GA 30363
                                                                             Basis for the claim:    vendor
           Date(s) debt was incurred
           Last 4 digits of account number      9836                         Is the claim subject to offset?     No       Yes


 3.93      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $2,876.80
           Zentek Farms LLC                                                     Contingent
           Attn: President                                                      Unliquidated
           325 Higgins Road                                                     Disputed
           Cheshire, CT 06410
                                                                             Basis for the claim:    vendor
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any



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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.1      Advantage Capital Funding
          Attn: Jason S. Peckham                                                                 Line   3.2
          1750 14th Street
                                                                                                        Not listed. Explain
          Suite 201
          Boulder, CO 80302

 4.2      American Bureau of Collections
          Attn: President                                                                        Line   3.84
          500 Seneca Street
                                                                                                        Not listed. Explain
          Suite 400
          Buffalo, NY 14204

 4.3      Amica Mutual Insurance Co.
          Attn: Juliana Indeglia                                                                 Line   3.7
          P.O. Box 9690
                                                                                                        Not listed. Explain
          Providence, RI 02940

 4.4      Amy M. Madore
          Gesmonde Pietrosimone                                                                  Line   3.84
          & Sgrignari LLC
                                                                                                        Not listed. Explain
          3127 Whitney Avenue
          Hamden, CT 06518

 4.5      Atwell Curtis & Brooks Ltd.
          Attn: President                                                                        Line   3.45
          204 Stonehinge Lane
                                                                                                        Not listed. Explain
          P.O. Box 363
          Carle Place, NY 11514

 4.6      Audit Systems Incorporated
          Attn: President                                                                        Line   3.88
          3969 Ulmerton Road
                                                                                                        Not listed. Explain
          Suite 200
          Clearwater, FL 33762

 4.7      Axos Bank
          Attn: President                                                                        Line   3.91
          9205 West Russell Road
                                                                                                        Not listed. Explain
          Suite 400
          Las Vegas, NV 89148

 4.8      Ball Horticultural Company
          Attn: President                                                                        Line   3.9
          622 Town Road
                                                                                                        Not listed. Explain
          West Chicago, IL 60185

 4.9      Barr Credit Services, Inc
          Attn: President                                                                        Line   3.53
          5151 E. Broadway Blvd
                                                                                                        Not listed. Explain
          Suite 800
          Tucson, AZ 85711

 4.10     BlueVine Capital Inc.
          Attn: President                                                                        Line   3.13
          30 Montgomery St #1400
                                                                                                        Not listed. Explain
          Jersey City, NJ 07302-1000

 4.11     Brian S. Cantor
          Attorney At Law                                                                        Line   3.60
          1220 Post Road
                                                                                                        Not listed. Explain
          Fairfield, CT 06824


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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.12     Business Card Services
          Attn: President                                                                        Line   3.52
          P.O. Box 84030
                                                                                                        Not listed. Explain
          Columbus, GA 31908

 4.13     Business Card Services
          Atn: 1415 Warm Spring Road                                                             Line   3.52
          Columbus, GA 31904
                                                                                                        Not listed. Explain

 4.14     C. Wellington Scott
          Harvey Scott & St. Charles Ltd                                                         Line   3.1
          Meadowland Corporate Center
                                                                                                        Not listed. Explain
          1099 Wall Street West
          Lyndhurst, NJ 07071

 4.15     Capital One Services, LLC
          Attn: President                                                                        Line   3.17
          P. O. Box 30285
                                                                                                        Not listed. Explain
          Salt Lake City, UT 84130

 4.16     Cardmember Service
          Attn: President                                                                        Line   3.19
          P.O. Box 108
                                                                                                        Not listed. Explain
          Saint Louis, MO 63166

 4.17     Donald H. Tamis
          246 Bank Street                                                                        Line   3.67
          P.O. Box 351
                                                                                                        Not listed. Explain
          Seymour, CT 06483

 4.18     Douglas Robinson
          122 East 42nd Street                                                                   Line   3.73
          Suite 2112
                                                                                                        Not listed. Explain
          New York, NY 10168

 4.19     Eversource
          Attn: Bankruptcy or Legal Dept                                                         Line   3.32
          107 Selden Street
                                                                                                        Not listed. Explain
          Berlin, CT 06037

 4.20     Eversource
          Attn: President                                                                        Line   3.34
          P.O. Box 56002
                                                                                                        Not listed. Explain
          Boston, MA 02205

 4.21     Farm Family Insurance Company
          Att: President                                                                         Line   3.66
          PO Box 656
                                                                                                        Not listed. Explain
          Albany, NY 12201

 4.22     Gary J. Greene
          Greene Law PC                                                                          Line   3.44
          11 Talcott Notch Road
                                                                                                        Not listed. Explain
          Farmington, CT 06032

 4.23     Global Capital Partners Fun
          Attn: President                                                                        Line   3.22
          274 Madison Avenue
                                                                                                        Not listed. Explain
          Suite 901
          New York, NY 10016


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              Name

          Name and mailing address                                                               On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.24     Harris & Harris Ltd.
          Attn: President                                                                        Line   3.33
          111 West Jackson Blvd.
                                                                                                        Not listed. Explain
          Suite 400
          Woodbridge, CT 06525

 4.25     ICS Claims
          Attn: President                                                                        Line   3.7
          930 Sunrise Highway
                                                                                                        Not listed. Explain
          West Babylon, NY 11704

 4.26     Jeffrey M. Quinn, Atty at Law
          1017 Edmonds Avenue                                                                    Line   3.71
          PO Box 596
                                                                                                        Not listed. Explain
          Drexel Hill, PA 19026

 4.27     Juniper Biz Card
          Attn: President                                                                        Line   3.52
          P.O. Box 84030
                                                                                                        Not listed. Explain
          Columbus, GA 31908

 4.28     Kabbage Inc.
          Attn: President                                                                        Line   3.54
          730 W Peachtree St NW #1100
                                                                                                        Not listed. Explain
          Atlanta, GA 30308

 4.29     Kenneth Rozich
          Jacobs & Rozich LLC                                                                    Line   3.39
          P.O. Box 1952
                                                                                                        Not listed. Explain
          New Haven, CT 06509

 4.30     Linegargar Gogan Blair &
          Sampson LLP                                                                            Line   3.62
          Attn: Managing Partner
                                                                                                        Not listed. Explain
          P.O. Box 708905
          San Antonio, TX 78270

 4.31     LJ Ross Associates Inc.
          Attn: President                                                                        Line   3.32
          P.O.Box 827
                                                                                                        Not listed. Explain
          Jackson, MI 49204

 4.32     Nicole A. Veno
          Law Office of Nicole A. Veno                                                           Line   3.73
          21 Waterville Road
                                                                                                        Not listed. Explain
          Avon, CT 06001

 4.33     Parks & Pearson LLC
          Attn: President                                                                        Line   3.75
          765 East Main Street
                                                                                                        Not listed. Explain
          Branford, CT 06405

 4.34     Philip H. Monagan, Esq.
          61 Holmes Avenue                                                                       Line   3.67
          P. O. Box 2390
                                                                                                        Not listed. Explain
          Waterbury, CT 06722

 4.35     Rodolfo Gaba Jr.
          Gaba Guerrini Law                                                                      Line   3.61
          8583 Irvine Center Drive
                                                                                                        Not listed. Explain
          Suite 500
          Irvine, CA 92618

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              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.36      Sachem Capital Corp
           Attn: John Villano                                                                    Line     3.75
           360 Lexington Avenue
                                                                                                        Not listed. Explain
           New York, NY 10170

 4.37      Sachem Capital Corp.
           Attn: Peter Giannotti                                                                 Line     3.75
           698 Main St
                                                                                                        Not listed. Explain
           Branford, CT 06405

 4.38      Samuel Ollunga
           750 3rd Avenue                                                                        Line     3.2
           9th Floor
                                                                                                        Not listed. Explain
           New York, NY 10017

 4.39      Steven A. Sugarmann
           Sugarmann & Sugarmann                                                                 Line     3.71
           One Bradley Road
                                                                                                        Not listed. Explain
           P.O. Box 3996
           Woodbridge, CT 06525

 4.40      Synergetic Communication, Inc
           Attn: Ken Walsh                                                                       Line     3.79
           5450 N.W. Central #220
                                                                                                        Not listed. Explain
           Houston, TX 77092

 4.41      Thomas Dufour
           1129 Essex Place                                                                      Line     3.11
           Stratford, CT 06615
                                                                                                        Not listed. Explain

 4.42      Timothy J. Murtha
           Roach & Murtha                                                                        Line     3.1
           Attorneys at Law PC
                                                                                                        Not listed. Explain
           6901 Jericho Turnpike Ste 101
           Syosset, NY 11791

 4.43      Transworld Systems Inc
           Attn: President                                                                       Line     3.22
           500 Virginia Drive, Suite 514
                                                                                                        Not listed. Explain
           Fort Washington, PA 19034

 4.44      Transworld Systems Inc.
           Attn: President                                                                       Line     3.62
           P.O. Box 15110
                                                                                                        Not listed. Explain
           Wilmington, DE 19850

 4.45      W.W. Grainger
           Attn: President                                                                       Line     3.89
           14441 Il Route 60
                                                                                                        Not listed. Explain
           Lake Forest, IL 60045


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                     Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.          $                     50,787.21
 5b. Total claims from Part 2                                                                       5b.    +     $                  1,908,998.30

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.          $                    1,959,785.51


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 Fill in this information to identify the case:

 Debtor name         Ace Begonias Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Ace Begonias Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Ace Begonia's                     231 Seymour Road                                  Amica Mutual                       D
                                               Woodbridge, CT 06525                              Insurance Co.                      E/F       3.7
                                                                                                                                    G




    2.2      Paul Rieur                        66 Bear Hill Road                                 A.D.R. Bulbs Inc.                  D
                                               Bethany, CT 06524                                                                    E/F       3.1
                                                                                                                                    G




    2.3      Paul Rieur                        66 Bear Hill Road                                 Advantage Capital                  D
                                               Bethany, CT 06524                                 Funding                            E/F       3.2
                                                                                                                                    G




    2.4      Paul Rieur                        66 Bear Hill Road                                 Advantage Capital                  D   2.1
                                               Bethany, CT 06524                                 Funding                            E/F
                                                                                                                                    G




    2.5      Paul Rieur                        66 Bear Hill Road                                 Agco Finance, LLC                  D
                                               Bethany, CT 06524                                                                    E/F       3.3
                                                                                                                                    G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Paul Rieur                        66 Bear Hill Road                              Agco Finance, LLC             D   2.2
                                               Bethany, CT 06524                                                            E/F
                                                                                                                            G




    2.7      Paul Rieur                        66 Bear Hill Road                              All American Waste            D
                                               Bethany, CT 06524                                                            E/F       3.4
                                                                                                                            G




    2.8      Paul Rieur                        66 Bear Hill Road                              Allen's Plumbing              D
                                               Bethany, CT 06524                              Supply                        E/F       3.5
                                                                                                                            G




    2.9      Paul Rieur                        66 Bear Hill Road                              ARIS Horticulture Inc.        D
                                               Bethany, CT 06524                                                            E/F       3.8
                                                                                                                            G




    2.10     Paul Rieur                        66 Bear Hill Road                              Axos Bank                     D   2.3
                                               Bethany, CT 06524                                                            E/F
                                                                                                                            G




    2.11     Paul Rieur                        66 Bear Hill Road                              Ball Horticultural            D
                                               Bethany, CT 06524                              Company                       E/F       3.9
                                                                                                                            G




    2.12     Paul Rieur                        66 Bear Hill Road                              Capital One Bank              D
                                               Bethany, CT 06524                                                            E/F       3.17
                                                                                                                            G




    2.13     Paul Rieur                        66 Bear Hill Road                              Cardmember Service            D
                                               Bethany, CT 06524                                                            E/F       3.18
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                               Page 2 of 14
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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Paul Rieur                        66 Bear Hill Road                              Cardmember Service             D
                                               Bethany, CT 06524                                                             E/F       3.19
                                                                                                                             G




    2.15     Paul Rieur                        66 Bear Hill Road                              Cardmember Service             D
                                               Bethany, CT 06524                                                             E/F       3.20
                                                                                                                             G




    2.16     Paul Rieur                        66 Bear Hill Road                              Citizen's Bank                 D
                                               Bethany, CT 06524                                                             E/F       3.22
                                                                                                                             G




    2.17     Paul Rieur                        66 Bear Hill Road                              Comcast                        D
                                               Bethany, CT 06524                                                             E/F       3.24
                                                                                                                             G




    2.18     Paul Rieur                        66 Bear Hill Road                              Connecticut                    D
                                               Bethany, CT 06524                              Communications                 E/F       3.25
                                                                                                                             G




    2.19     Paul Rieur                        66 Bear Hill Road                              Corporate Service              D   2.4
                                               Bethany, CT 06524                              Company                        E/F
                                                                                                                             G




    2.20     Paul Rieur                        66 Bear Hill Road                              Corporation Service            D
                                               Bethany, CT 06524                              Co.                            E/F       3.26
                                                                                                                             G




    2.21     Paul Rieur                        66 Bear Hill Road                              CT Corporation                 D
                                               Bethany, CT 06524                              System                         E/F       3.27
                                                                                                                             G




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           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.22     Paul Rieur                        66 Bear Hill Road                              CT Corporation                D   2.5
                                               Bethany, CT 06524                              System                        E/F
                                                                                                                            G




    2.23     Paul Rieur                        66 Bear Hill Road                              Daddio's Used Auto            D
                                               Bethany, CT 06524                              Parts                         E/F       3.28
                                                                                                                            G




    2.24     Paul Rieur                        66 Bear Hill Road                              DLI Assets Bravo              D
                                               Bethany, CT 06524                              LLC                           E/F       3.30
                                                                                                                            G




    2.25     Paul Rieur                        66 Bear Hill Road                              DLI Assets Bravo              D   2.6
                                               Bethany, CT 06524                              LLC                           E/F
                                                                                                                            G




    2.26     Paul Rieur                        66 Bear Hill Road                              Eversource                    D
                                               Bethany, CT 06524                                                            E/F       3.32
                                                                                                                            G




    2.27     Paul Rieur                        66 Bear Hill Road                              Eversource                    D
                                               Bethany, CT 06524                                                            E/F       3.33
                                                                                                                            G




    2.28     Paul Rieur                        66 Bear Hill Road                              Family Sunoco                 D
                                               Bethany, CT 06524                                                            E/F       3.38
                                                                                                                            G




    2.29     Paul Rieur                        66 Bear Hill Road                              Federal Oil                   D
                                               Bethany, CT 06524                                                            E/F       3.39
                                                                                                                            G




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            Additional Page to List More Codebtors
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            Column 1: Codebtor                                                          Column 2: Creditor



    2.30     Paul Rieur                        66 Bear Hill Road                              Geremia Greenhouse            D
                                               Bethany, CT 06524                                                            E/F       3.41
                                                                                                                            G




    2.31     Paul Rieur                        66 Bear Hill Road                              Griffin Greenhouse            D
                                               Bethany, CT 06524                              Supplies                      E/F       3.44
                                                                                                                            G




    2.32     Paul Rieur                        66 Bear Hill Road                              Griffin Greenhouse            D   2.7
                                               Bethany, CT 06524                              Supplies                      E/F
                                                                                                                            G




    2.33     Paul Rieur                        66 Bear Hill Road                              Hampshire Paper               D
                                               Bethany, CT 06524                                                            E/F       3.45
                                                                                                                            G




    2.34     Paul Rieur                        66 Bear Hill Road                              IGI Marketing Inc.            D
                                               Bethany, CT 06524                                                            E/F       3.49
                                                                                                                            G




    2.35     Paul Rieur                        66 Bear Hill Road                              Internal Revenue              D
                                               Bethany, CT 06524                              Service                       E/F       2.7
                                                                                                                            G




    2.36     Paul Rieur                        66 Bear Hill Road                              Juniper Biz Card              D
                                               Bethany, CT 06524                                                            E/F       3.52
                                                                                                                            G




    2.37     Paul Rieur                        66 Bear Hill Road                              Kabbage Inc.                  D
                                               Bethany, CT 06524                                                            E/F       3.54
                                                                                                                            G




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            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.38     Paul Rieur                        66 Bear Hill Road                              KOBA                          D
                                               Bethany, CT 06524                                                            E/F       3.55
                                                                                                                            G




    2.39     Paul Rieur                        66 Bear Hill Road                              Livingston                    D
                                               Bethany, CT 06524                              International                 E/F       3.56
                                                                                                                            G




    2.40     Paul Rieur                        66 Bear Hill Road                              Loan Star Repair              D
                                               Bethany, CT 06524                              Service                       E/F       3.57
                                                                                                                            G




    2.41     Paul Rieur                        66 Bear Hill Road                              Lucas Greenhouses             D
                                               Bethany, CT 06524                                                            E/F       3.58
                                                                                                                            G




    2.42     Paul Rieur                        66 Bear Hill Road                              McHutchison                   D
                                               Bethany, CT 06524                                                            E/F       3.59
                                                                                                                            G




    2.43     Paul Rieur                        66 Bear Hill Road                              Messick Company               D
                                               Bethany, CT 06524                                                            E/F       3.60
                                                                                                                            G




    2.44     Paul Rieur                        66 Bear Hill Road                              Monrovia Nursery              D
                                               Bethany, CT 06524                              Company                       E/F       3.61
                                                                                                                            G




    2.45     Paul Rieur                        66 Bear Hill Road                              Payment Processing            D
                                               Bethany, CT 06524                              Center                        E/F       3.66
                                                                                                                            G




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            Additional Page to List More Codebtors
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            Column 1: Codebtor                                                          Column 2: Creditor



    2.46     Paul Rieur                        66 Bear Hill Road                              Phoenix Propane               D
                                               Bethany, CT 06524                                                            E/F       3.67
                                                                                                                            G




    2.47     Paul Rieur                        66 Bear Hill Road                              Reading Anthracite            D
                                               Bethany, CT 06524                              Company                       E/F       3.71
                                                                                                                            G




    2.48     Paul Rieur                        66 Bear Hill Road                              ROC Funding Group             D
                                               Bethany, CT 06524                                                            E/F       3.73
                                                                                                                            G




    2.49     Paul Rieur                        66 Bear Hill Road                              ROC Funding Group             D   2.8
                                               Bethany, CT 06524                                                            E/F
                                                                                                                            G




    2.50     Paul Rieur                        66 Bear Hill Road                              Salmon Foliage                D
                                               Bethany, CT 06524                                                            E/F       3.76
                                                                                                                            G




    2.51     Paul Rieur                        66 Bear Hill Road                              State of Connecticut          D
                                               Bethany, CT 06524                                                            E/F       2.12
                                                                                                                            G




    2.52     Paul Rieur                        66 Bear Hill Road                              State of Connecticut          D   2.9
                                               Bethany, CT 06524                                                            E/F
                                                                                                                            G




    2.53     Paul Rieur                        66 Bear Hill Road                              TD Bank                       D
                                               Bethany, CT 06524                                                            E/F       3.79
                                                                                                                            G




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            Additional Page to List More Codebtors
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            Column 1: Codebtor                                                          Column 2: Creditor



    2.54     Paul Rieur                        66 Bear Hill Road                              Tire Shak Inc.                 D
                                               Bethany, CT 06524                                                             E/F       3.80
                                                                                                                             G




    2.55     Paul Rieur                        66 Bear Hill Road                              Town of Woodbridge             D
                                               Bethany, CT 06524                                                             E/F       2.14
                                                                                                                             G




    2.56     Paul Rieur                        66 Bear Hill Road                              Valley Discount Oil            D
                                               Bethany, CT 06524                                                             E/F       3.82
                                                                                                                             G




    2.57     Paul Rieur                        66 Bear Hill Road                              Webster Bank                   D
                                               Bethany, CT 06524                                                             E/F       3.86
                                                                                                                             G




    2.58     Paul Rieur                        66 Bear Hill Road                              Webster Bank                   D
                                               Bethany, CT 06524                                                             E/F       3.87
                                                                                                                             G




    2.59     Paul Rieur                        66 Bear Hill Road                              Webster Bank                   D
                                               Bethany, CT 06524                                                             E/F       3.88
                                                                                                                             G




    2.60     Paul Rieur                        66 Bear Hill Road                              Webster Bank, NA               D   2.10
                                               Bethany, CT 06524                                                             E/F
                                                                                                                             G




    2.61     Paul Rieur                        66 Bear Hill Road                              Wholesale Collectors           D
                                               Bethany, CT 06524                                                             E/F       3.89
                                                                                                                             G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.62     Paul Rieur                        66 Bear Hill Road                              Wojtowicz LLC                 D
                                               Bethany, CT 06524                                                            E/F       3.90
                                                                                                                            G




    2.63     Paul Rieur                        66 Bear Hill Road                              World Business                D
                                               Bethany, CT 06524                              Lenders                       E/F       3.91
                                                                                                                            G




    2.64     Paul Rieur                        66 Bear Hill Road                              World Pay US, Inc.            D
                                               Bethany, CT 06524                                                            E/F       3.92
                                                                                                                            G




    2.65     Paul Rieur                        66 Bear Hill Road                              Zentek Farms LLC              D
                                               Bethany, CT 06524                                                            E/F       3.93
                                                                                                                            G




    2.66     Paul Rieur                        66 Bear Hill Road                              Amerigas                      D
                                               Bethany, CT 06524                                                            E/F       3.6
                                                                                                                            G




    2.67     Paul Rieur                        66 Bear Hill Road                              Berneckers Nursery            D
                                               Bethany, CT 06524                                                            E/F       3.10
                                                                                                                            G




    2.68     Paul Rieur                        66 Bear Hill Road                              Bethany Farm &                D
                                               Bethany, CT 06524                              Nursery LLC                   E/F       3.11
                                                                                                                            G




    2.69     Paul Rieur                        66 Bear Hill Road                              Bethany Fuel LLC              D
                                               Bethany, CT 06524                              Inc.                          E/F       3.12
                                                                                                                            G




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            Additional Page to List More Codebtors
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            Column 1: Codebtor                                                          Column 2: Creditor



    2.70     Paul Rieur                        66 Bear Hill Road                              Boyd Nurseries                D
                                               Bethany, CT 06524                                                            E/F       3.14
                                                                                                                            G




    2.71     Paul Rieur                        66 Bear Hill Road                              Business GPS                  D
                                               Bethany, CT 06524                                                            E/F       3.15
                                                                                                                            G




    2.72     Paul Rieur                        66 Bear Hill Road                              Capital Caladiums             D
                                               Bethany, CT 06524                                                            E/F       3.16
                                                                                                                            G




    2.73     Paul Rieur                        66 Bear Hill Road                              Colonial Florists             D
                                               Bethany, CT 06524                                                            E/F       3.23
                                                                                                                            G




    2.74     Paul Rieur                        66 Bear Hill Road                              Direct Energy                 D
                                               Bethany, CT 06524                                                            E/F       3.29
                                                                                                                            G




    2.75     Paul Rieur                        66 Bear Hill Road                              Eversource                    D
                                               Bethany, CT 06524                                                            E/F       3.34
                                                                                                                            G




    2.76     Paul Rieur                        66 Bear Hill Road                              Evo Merchant                  D
                                               Bethany, CT 06524                              Services LLC                  E/F       3.35
                                                                                                                            G




    2.77     Paul Rieur                        66 Bear Hill Road                              Exotic Botanicals             D
                                               Bethany, CT 06524                                                            E/F       3.36
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.78     Paul Rieur                        66 Bear Hill Road                              Family Petrolium               D
                                               Bethany, CT 06524                                                             E/F       3.37
                                                                                                                             G




    2.79     Paul Rieur                        66 Bear Hill Road                              Gempler                        D
                                               Bethany, CT 06524                                                             E/F       3.40
                                                                                                                             G




    2.80     Paul Rieur                        66 Bear Hill Road                              Green Island                   D
                                               Bethany, CT 06524                              Distributors, Inc              E/F       3.42
                                                                                                                             G




    2.81     Paul Rieur                        66 Bear Hill Road                              Gregory Floral Inc.            D
                                               Bethany, CT 06524                                                             E/F       3.43
                                                                                                                             G




    2.82     Paul Rieur                        66 Bear Hill Road                              Hazelton Shaft                 D
                                               Bethany, CT 06524                                                             E/F       3.46
                                                                                                                             G




    2.83     Paul Rieur                        66 Bear Hill Road                              Hocon Gas                      D
                                               Bethany, CT 06524                                                             E/F       3.47
                                                                                                                             G




    2.84     Paul Rieur                        66 Bear Hill Road                              HOCON Industrial               D
                                               Bethany, CT 06524                              Gas                            E/F       3.48
                                                                                                                             G




    2.85     Paul Rieur                        66 Bear Hill Road                              Innorvative Systems            D
                                               Bethany, CT 06524                              Inc.                           E/F       3.50
                                                                                                                             G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.86     Paul Rieur                        66 Bear Hill Road                              Joneser Express               D
                                               Bethany, CT 06524                                                            E/F       3.51
                                                                                                                            G




    2.87     Paul Rieur                        66 Bear Hill Road                              K & M Nursery                 D
                                               Bethany, CT 06524                                                            E/F       3.53
                                                                                                                            G




    2.88     Paul Rieur                        66 Bear Hill Road                              MTA Bridges and               D
                                               Bethany, CT 06524                              Tunnels                       E/F       3.62
                                                                                                                            G




    2.89     Paul Rieur                        66 Bear Hill Road                              Mulvehill                     D
                                               Bethany, CT 06524                                                            E/F       3.63
                                                                                                                            G




    2.90     Paul Rieur                        66 Bear Hill Road                              Outfront Media                D
                                               Bethany, CT 06524                                                            E/F       3.64
                                                                                                                            G




    2.91     Paul Rieur                        66 Bear Hill Road                              Panzaer Nursery               D
                                               Bethany, CT 06524                                                            E/F       3.65
                                                                                                                            G




    2.92     Paul Rieur                        66 Bear Hill Road                              Plants in Design Inc.         D
                                               Bethany, CT 06524                                                            E/F       3.68
                                                                                                                            G




    2.93     Paul Rieur                        66 Bear Hill Road                              Pride Garden                  D
                                               Bethany, CT 06524                                                            E/F       3.69
                                                                                                                            G




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            Column 1: Codebtor                                                          Column 2: Creditor



    2.94     Paul Rieur                        66 Bear Hill Road                              Razbutton Inc.                D
                                               Bethany, CT 06524                                                            E/F       3.70
                                                                                                                            G




    2.95     Paul Rieur                        66 Bear Hill Road                              Ryder Transportation          D
                                               Bethany, CT 06524                                                            E/F       3.74
                                                                                                                            G




    2.96     Paul Rieur                        66 Bear Hill Road                              Sachem Capital Corp           D
                                               Bethany, CT 06524                                                            E/F       3.75
                                                                                                                            G




    2.97     Paul Rieur                        66 Bear Hill Road                              Star Insurance Co.            D
                                               Bethany, CT 06524                                                            E/F       3.77
                                                                                                                            G




    2.98     Paul Rieur                        66 Bear Hill Road                              Stewarts Greenhouse           D
                                               Bethany, CT 06524                              Inc.                          E/F       3.78
                                                                                                                            G




    2.99     Paul Rieur                        66 Bear Hill Road                              Town of Bethany               D
                                               Bethany, CT 06524                                                            E/F       2.13
                                                                                                                            G




    2.10     Paul Rieur                        66 Bear Hill Road                              Troy Industrial               D
    0                                          Bethany, CT 06524                              Solutions                     E/F       3.81
                                                                                                                            G




    2.10     Paul Rieur                        66 Bear Hill Road                              Valley Heating Oil            D
    1                                          Bethany, CT 06524                              LLC                           E/F       3.83
                                                                                                                            G




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 Debtor       Ace Begonias Inc.                                                          Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.10     Paul Rieur                        66 Bear Hill Road                              W.W. Grainger                 D
    2                                          Bethany, CT 06524                                                            E/F       3.84
                                                                                                                            G




    2.10     Paul Rieur                        66 Bear Hill Road                              Waterfields Farm              D
    3                                          Bethany, CT 06524                                                            E/F       3.85
                                                                                                                            G




Official Form 206H                                                        Schedule H: Your Codebtors                               Page 14 of 14
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 Fill in this information to identify the case:

 Debtor name         Ace Begonias Inc.

 United States Bankruptcy Court for the:            DISTRICT OF CONNECTICUT

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                 $90,000.00
       From 1/01/2019 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $300,000.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,327,722.00
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                   Total amount of value        Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property

       Lone Star Repair Service                                  2001 Mitsubishi Fuso FH 211                                   6/26/19                      Unknown
       Attn: Faloria Tamburrg
       780 Pacific Street
       Stamford, CT 06902


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       Evo Payments International                                money withheld due to court order by                                                             $0.00
       Attn: President                                           Capital Advantage
       515 Broadhollow Road                                      Last 4 digits of account number:
       Melville, NY 11747


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    GRIFFIN GREENHOUSE                                Collection                 Judicial District of New                     Pending
               SUPPLIES INC v. ACE                                                          Haven                                        On appeal
               BEGONIAS, INC ET AL                                                          Attn: Clerk
                                                                                                                                         Concluded
               NNH-CV19-5045386-S                                                           235 Church Street
                                                                                            New Haven, CT 06510

       7.2.    ROC FUNDING CORP, LLC v.                          Collection                 Judicial District of New                     Pending
               ACE BEGONIAS, INC.                                                           Haven                                        On appeal
               NNH-CV19-5045892-S                                                           Attn: Clerk
                                                                                                                                         Concluded
                                                                                            235 Church Street
                                                                                            New Haven, CT 06510




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 Debtor       Ace Begonias Inc.                                                                             Case number (if known)



               Case title                                        Nature of case               Court or agency's name and               Status of case
               Case number                                                                    address
       7.3.    ADVANTAGE CAPITAL                                 Collection                   Ontario County Supreme                      Pending
               FUNDING v. ACE BEGONIAS,                                                       Court                                       On appeal
               INC., PAUL RIEUR                                                               Attn: Clerk
                                                                                                                                          Concluded
               121874-2018                                                                    20 Ontario Street
                                                                                              Canandaigua, NY 14424

       7.4.    ROC Funding Group LLC v                                                        Ontario County Supreme                      Pending
               Ace Begonias, Paul R. Rieur                                                    Court                                       On appeal
               121217-20018                                                                   Attn: Clerk                                 Concluded
                                                                                              20 Ontario Street
                                                                                              Canandaigua, NY 14424

       7.5.    Federal Oil v Ace Begonias                        Collections                  Judicial District of New                    Pending
               Inc.                                                                           Haven                                       On appeal
               NNH-CV-XX-XXXXXXX-S                                                            Attn: Clerk
                                                                                                                                          Concluded
                                                                                              235 Church Street
                                                                                              New Haven, CT 06510


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                             Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address



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                Who was paid or who received                         If not money, describe any property transferred           Dates                Total amount or
                the transfer?                                                                                                                                value
                Address
       11.1.    Novak Law Office, PC
                280 Adams Street
                Manchester, CT 06042                                 retainer and filing fees                                  6/21/19                     $1,800.00

                Email or website address


                Who made the payment, if not debtor?
                Ellen Kolarik



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                            Description of property transferred or                  Date transfer              Total amount or
               Address                                           payments received or debts paid in exchange             was made                            value
       13.1                                                      sold real property located in Bethany &
       .                                                         Woodbridge CT, consisting of a parcel of
                                                                 land of approximately 17.8 acres which is
               Bethany Farm & Nursery LLC                        numbered 229 Seymour Road Bethany
               671 Aspen Lane                                    CT and .21 acres of land in Woodbridge
               Orange, CT 06477                                  CT totalling 18.01 acres                                7/19/19                       $600,000.00

               Relationship to debtor



       13.2                                                      SB Machinery potting maching and
       .                                                         conveyor belt, Add-A-Veyor conveyor
                                                                 belt, Keystoker 2012 greenhouse heating
                                                                 equipment , 2013 Lumigrow agriculture
                                                                 lighting, 2014 Dell Optiplex computer,
                                                                 Keystoker 2013, Net-A-Fim 2015
                                                                 irrigantion equipment; fixtures left on
               Bethany Farm & Nursery LLC                        property and included in the Sale of Age
               671 Aspen Lane                                    Begonias to Bethany Farms - has little to
               Orange, CT 06477                                  no value                                                July 19, 2019                           $0.00

               Relationship to debtor




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               Who received transfer?                            Description of property transferred or                  Date transfer            Total amount or
               Address                                           payments received or debts paid in exchange             was made                          value
       13.3 Vincent Vizzo Jr.
       .    7 Old Good Hill Road                                 2010 Massey Ferguson Tractor/loader
               Oxford, CT 06478                                  DDL130                                                  March 2019                     $4,000.00

               Relationship to debtor




 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was               Last balance
               Address                                           account number           instrument                  closed, sold,              before closing or
                                                                                                                      moved, or                           transfer
                                                                                                                      transferred




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                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was           Last balance
                Address                                          account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Webster Bank                                     XXXX-0305                   Checking                 12/11/2018                           $0.00
                Attn: President                                                              Savings
                696 Amity Rd
                                                                                             Money Market
                Bethany, CT 06524
                                                                                             Brokerage
                                                                                             Other

       18.2.    TD Bank                                          XXXX-4433                   Checking                                                Unknown
                Attn: President                                                              Savings
                249 Bank Street
                                                                                             Money Market
                Seymour, CT 06483
                                                                                             Brokerage
                                                                                             Other

       18.3.    Citizen's Bank                                   XXXX-0383                   Checking                                                Unknown
                Attn: President                                                              Savings
                194 Amity Rd
                                                                                             Money Market
                Woodbridge, CT 06525
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a

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      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Wojtowicz LLC
                    Attn: President
                    100 Bank Street
                    Seymour, CT 06483


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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.2.       Paul Rieur
                    66 Bear Hill Road
                    Bethany, CT 06524

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1                                                                                                                                 Paul Rieur is
       .                                                                                                                                    owed salary in
                                                                                                                                            excess of
                                                                                                                                            $13,000.00 for
                                                                                                                                            working at Ace
                Paul Rieur                                                                                                                  Begonias but has
                66 Bear Hill Road                                                                                                           not been paid for
                Bethany, CT 06524                                in excess of $13,000.00                                                    work performed.

                Relationship to debtor
                100% in charge of operating
                and managing Ace Begonias




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2                                                                                                                                Lucinda Rieur
       .                                                                                                                                   worked at Ace
                                                                                                                                           Begonias as
                                                                                                                                           book-keeper at
                                                                                                                                           the business
                                                                                                                                           premises and is
                                                                                                                                           owed in excess of
                                                                                                                                           $13,000.00 for
                                                                                                                                           working at Ace
               Lucinda Rieur                                                                                                               Begonias but has
               66 Bear Hill Road                                                                                                           not been paid for
               Bethany, CT 06524                                 in excess of $13,000.00                                                   work performed.

               Relationship to debtor
               Book-keeper at Ace Begonias


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         August 30, 2019

 /s/ Paul R. Rieur                                                      Paul R. Rieur
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Member/Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re       Ace Begonias Inc.                                                                                Case No.
                                                                               Debtor(s)                      Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,800.00
             Prior to the filing of this statement I have received                                        $                     1,800.00
             Balance Due                                                                                  $                     1,000.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Reference is hereby made to the Bankruptcy Retainer Agreement dated July 25, 2019 for description of services
                 and compensation to be paid.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               All services contemplated to be provided by the undersigned attorney shall be and are hereby limited to legal
               representation afforded the client in the United States Bankruptcy Courts, District of Connecticut pertaining to
               the Chapter 7 case described above. Under no cirumstances shall this agreement be construed to impose a
               professional obligation or duty upon the attorney to represent the client in related or unrelated matters which
               matters are in the proper jurisdiction of the Superior Courts of the State of Connecticut.

                  Representation of the Debtor in an adversary proceeding and/or a contested matter including but not limited to
                  motion pursuant to sec. 522(f) and sec. 506 requries a separate attorney's fee to be paid on an hourly rate retainer
                  basis, which is in addition to the fee referenced in this Disclosure of Compensation of Attorney for Debtor. The
                  undersigned attorney is not responsible, nor obligated to any way, to undertake representation of the Debtor in
                  any adversary proceeding, unless separately retained to do so.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     August 30, 2019                                                          /s/ Anthony S. Novak
     Date                                                                     Anthony S. Novak
                                                                              Signature of Attorney
                                                                              Novak Law Office, P.C.
                                                                              280 Adams Street
                                                                              Manchester, CT 06042
                                                                              860-432-7710 Fax: 860-432-7724
                                                                              anthonysnovak@aol.com
                                                                              Name of law firm



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                                                               United States Bankruptcy Court
                                                                     District of Connecticut
 In re      Ace Begonias Inc.                                                                         Case No.
                                                                                Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Member/Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       August 30, 2019                                         /s/ Paul R. Rieur
                                                                     Paul R. Rieur/Member/Manager
                                                                     Signer/Title




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o
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s
M
a
x




                        A.D.R. Bulbs Inc.
                        Attn: President
                        P.O. Box 538
                        Chester, NY 10918


                        Ace Begonia's
                        231 Seymour Road
                        Woodbridge, CT 06525


                        Advantage Capital Funding
                        Attn: President
                        104 E. 25th Street
                        10th Floor
                        New York, NY 10010


                        Advantage Capital Funding
                        Attn: Jason S. Peckham
                        1750 14th Street
                        Suite 201
                        Boulder, CO 80302


                        Agco Finance, LLC
                        Attn: President
                        PO Box 2000
                        Johnston, IA 50131


                        All American Waste
                        Attn: President
                        P.O. Box 630
                        East Windsor, CT 06088


                        Allen's Plumbing Supply
                        Attn: President
                        145 Bank Street
                        RT 67
                        Seymour, CT 06483


                        American Bureau of Collections
                        Attn: President
                        500 Seneca Street
                        Suite 400
                        Buffalo, NY 14204


                        Amerigas
                        Attn: President
                        P.O.Box 371473
                        Pittsburgh, PA 15250
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                    Amica Mutual Insurance Co.
                    Attn: President
                    ICS Claims
                    930 Sunrise Highway
                    West Babylon, NY 11704


                    Amica Mutual Insurance Co.
                    Attn: Juliana Indeglia
                    P.O. Box 9690
                    Providence, RI 02940


                    Amy M. Madore
                    Gesmonde Pietrosimone
                    & Sgrignari LLC
                    3127 Whitney Avenue
                    Hamden, CT 06518


                    ARIS Horticulture Inc.
                    Attn: President
                    P.O. Box 1236
                    Butler, PA 16003


                    Atwell Curtis & Brooks Ltd.
                    Attn: President
                    204 Stonehinge Lane
                    P.O. Box 363
                    Carle Place, NY 11514


                    Audit Systems Incorporated
                    Attn: President
                    3969 Ulmerton Road
                    Suite 200
                    Clearwater, FL 33762


                    Axos Bank
                    Attn: President
                    9205 West Russell Road
                    Suite 400
                    Las Vegas, NV 89148


                    Ball Horticultural Company
                    Attn: President
                    75 Remittance Dr, Suite 1114
                    Chicago, IL 60675
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                    Ball Horticultural Company
                    Attn: President
                    622 Town Road
                    West Chicago, IL 60185


                    Barbara Hagen-Smith
                    116 Northrop Road
                    Woodbridge, CT 06525


                    Barr Credit Services, Inc
                    Attn: President
                    5151 E. Broadway Blvd
                    Suite 800
                    Tucson, AZ 85711


                    Berneckers Nursery
                    Attn: President
                    P.O. Box 122647
                    Dept. 2647
                    Dallas, TX 75312


                    Bethany Farm & Nursery LLC
                    671 Aspen Lane
                    Orange, CT 06477


                    Bethany Fuel LLC Inc.
                    Attn: President
                    861 LItchfield Avenue
                    Bethany, CT 06524


                    Blue Vine Capital
                    Attn: President
                    401 Warren Street
                    Redwood City, CA 94063


                    BlueVine Capital Inc.
                    Attn: President
                    30 Montgomery St #1400
                    Jersey City, NJ 07302-1000


                    Boyd Nurseries
                    Attn: President
                    1534 B Road
                    Loxahatchee, FL 33470
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                    Brian S. Cantor
                    Attorney At Law
                    1220 Post Road
                    Fairfield, CT 06824


                    Business Card Services
                    Attn: President
                    P.O. Box 84030
                    Columbus, GA 31908


                    Business Card Services
                    Atn: 1415 Warm Spring Road
                    Columbus, GA 31904


                    Business GPS
                    Attn: Christy Brown
                    183 Keith Street
                    Warrenton, VA 20186


                    C. Wellington Scott
                    Harvey Scott & St. Charles Ltd
                    Meadowland Corporate Center
                    1099 Wall Street West
                    Lyndhurst, NJ 07071


                    Capital Caladiums
                    Attn: President
                    81 Bates Road
                    Lake Placid, FL 33852


                    Capital One Bank
                    Attn: President
                    PO Box 71083
                    Charlotte, NC 28272


                    Capital One Services, LLC
                    Attn: President
                    P. O. Box 30285
                    Salt Lake City, UT 84130


                    Cardmember Service
                    Attn: President
                    P.O. Box 790408
                    Saint Louis, MO 63179
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                    Cardmember Service
                    Attn: President
                    P.O. Box 108
                    Saint Louis, MO 63166


                    Cash Flow Managemnet Inc.
                    Attn: President
                    P.O. Box 42407
                    5530 S.E. Center Street
                    Portland, OR 97242


                    Citizen's Bank
                    Attn: President
                    P.O. Box 42002
                    Providence, RI 02940


                    Clifford Strumello
                    15 Cemetary Road
                    Seymour, CT 06483


                    Colonial Florists
                    Attn: President
                    58 Broadway Avenue
                    St. Catherines Ontario ONTL2m4
                    Canada


                    Comcast
                    Attn: President
                    P.O. Box 70219
                    Philadelphia, PA 19176


                    Connecticut Communications
                    Attn: President
                    48 Ozick Drive
                    Durham, CT 06422


                    Corporate Service Company
                    Attn: President
                    P.O. Box 2576
                    Springfield, IL 62708


                    Corporation Service Co.
                    Attn President
                    P. O. Box 2576
                    Springfield, IL 62708
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                    CT Corporation System
                    Attn President
                    330 N. Brand Blvd. #700
                    Glendale, CA 91203


                    Daddio's Used Auto Parts
                    Attn: Manager
                    728 Derby Ave #A
                    Seymour, CT 06483


                    Denise Arpino
                    33 Andrews Avenue
                    Milford, CT 06460


                    Direct Energy
                    Attn: President
                    P.O. Box 70220
                    Philadelphia, PA 19176


                    DLI Assets Bravo LLC
                    Attn: President
                    550 North Brand Blvd.
                    Suite 2000
                    Glendale, CA 91203


                    Donald H. Tamis
                    246 Bank Street
                    P.O. Box 351
                    Seymour, CT 06483


                    Douglas Robinson
                    122 East 42nd Street
                    Suite 2112
                    New York, NY 10168


                    Ellen Kolarik
                    1759 Mariposa Circle
                    Davis, CA 95618


                    Eversource
                    Attn: President
                    P.O. Box 56002
                    Boston, MA 02205
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                    Eversource
                    Attn: Bankruptcy or Legal Dept
                    107 Selden Street
                    Berlin, CT 06037


                    Evo Merchant Services LLC
                    Attn: President
                    Zenith Merchant Services
                    3801 Arapaho Road
                    Addison, TX 75001


                    Evo Merchant Services LLC
                    Attn: President
                    515 Broadhollow Road
                    Melville, NY 11747


                    Exotic Botanicals
                    Attn: President
                    14450 SW 216th Street
                    Miami, FL 33170


                    Family Petrolium
                    Attn: President
                    54 New Haven Road
                    Seymour, CT 06483


                    Family Sunoco
                    Attn: Manager
                    54 New Haven Rd
                    Seymour, CT 06483


                    Farm Family Insurance Company
                    Att: President
                    PO Box 656
                    Albany, NY 12201


                    Federal Oil
                    Attn: President
                    220 Wallace Street
                    New Haven, CT 06511


                    Gary J. Greene
                    Greene Law PC
                    11 Talcott Notch Road
                    Farmington, CT 06032
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                    Gempler
                    Attn: President
                    P.O. Box 5176
                    Janesville, WI 53547


                    Geremia Greenhouse
                    Attn: President
                    415 Barnes Road
                    Wallingford, CT 06492


                    Global Capital Partners Fun
                    Attn: President
                    274 Madison Avenue
                    Suite 901
                    New York, NY 10016


                    Green Island Distributors, Inc
                    Attn: President
                    730 West Main Street
                    Riverhead, NY 11901


                    Gregory Floral Inc.
                    Attn: President
                    1464 Gregory Road
                    St. Catherines Ontario L2R 6P9
                    Canada


                    Griffin Greenhouse Supplies
                    Attn: President
                    1619 Main Street
                    Tewksbury, MA 01876


                    Hampshire Paper
                    Attn: President
                    P.O. Box 783775
                    Philadelphia, PA 19178


                    Hans David Shmigelsky
                    211 Wooding Hill Road
                    Bethany, CT 06524


                    Harris & Harris Ltd.
                    Attn: President
                    111 West Jackson Blvd.
                    Suite 400
                    Woodbridge, CT 06525
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                    Hazelton Shaft
                    Attn: President
                    414 Shaft Road
                    Hazleton, PA 18201


                    Henry Cushman
                    252 Leetes Island Road
                    Trailer 21
                    Branford, CT 06405


                    Hocon Gas
                    Attn: President
                    20 Railroad Hill Street
                    Waterbury, CT 06708


                    HOCON Industrial Gas
                    Attn: President
                    86 Payne Road
                    Danbury, CT 06810


                    Hugo Soriano
                    7 Star Avenue #3
                    Danbury, CT 06810


                    ICS Claims
                    Attn: President
                    930 Sunrise Highway
                    West Babylon, NY 11704


                    IGI Marketing Inc.
                    Attn: President
                    P.O. Box 1085
                    Sorrento, FL 32776


                    Innorvative Systems Inc.
                    Attn: President
                    22 Middlefield Road
                    Oxford, CT 06478


                    Internal Revenue Service
                    Attn: Special Procedures
                    135 High Street, Stop 155
                    Hartford, CT 06103
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                    Jeffrey M. Quinn, Atty at Law
                    1017 Edmonds Avenue
                    PO Box 596
                    Drexel Hill, PA 19026


                    Joneser Express
                    Attn: President
                    P.O. Box 872
                    Windsor Locks, CT 06096


                    Juniper Biz Card
                    Attn: President
                    P.O. Box 23066
                    Columbus, GA 31902


                    Juniper Biz Card
                    Attn: President
                    P.O. Box 84030
                    Columbus, GA 31908


                    K & M Nursery
                    Attn: President
                    8289 W. Boynton Beach Blvd
                    Boynton Beach, FL 33472


                    Kabbage Inc.
                    Attn: President
                    P.O. Box 77081
                    Atlanta, GA 30357


                    Kabbage Inc.
                    Attn: President
                    730 W Peachtree St NW #1100
                    Atlanta, GA 30308


                    Kenneth Rozich
                    Jacobs & Rozich LLC
                    P.O. Box 1952
                    New Haven, CT 06509


                    KOBA
                    Attn: President
                    60 Baekeland Avenue
                    Middlesex, NJ 08846
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                    Linegargar Gogan Blair &
                    Sampson LLP
                    Attn: Managing Partner
                    P.O. Box 708905
                    San Antonio, TX 78270


                    Livingston International
                    Attn: President
                    6700 Cote De Liesse
                    Bureau 300
                    St. Laurent PQ H4T2B5


                    Lizeth Perez
                    87 Kensington Street
                    New Haven, CT 06511


                    LJ Ross Associates Inc.
                    Attn: President
                    P.O.Box 827
                    Jackson, MI 49204


                    Loan Star Repair Service
                    Attn: Manager
                    780 Pacific St
                    Stamford, CT 06902


                    Lucas Greenhouses
                    Attn: Manager
                    1049 Whig Lane
                    Monroeville, NJ 08343


                    Marta German
                    1170 Johnson Road
                    Woodbridge, CT 06525


                    McHutchison
                    Attn: President
                    P.O. Box 92170
                    Elk Grove Village, IL 60009


                    Messick Company
                    Attn: President
                    142 North Central Avenue
                    Campbell, CA 95008
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                    Monrovia Nursery Company
                    Attn: President
                    41 Floydville Rd
                    Granby, CT 06035


                    MTA Bridges and Tunnels
                    Attn: Clerk
                    PO Box 149001
                    Staten Island, NY 10314


                    Mulvehill
                    Attn: President
                    9821 Happy Hollow Road
                    Delray Beach, FL 33446


                    Nathan Guzzo
                    29 Curtis Avenue
                    Wallingford, CT 06492


                    Nicole A. Veno
                    Law Office of Nicole A. Veno
                    21 Waterville Road
                    Avon, CT 06001


                    Outfront Media
                    Attn: President
                    185 US 46
                    Fairfield, NJ 07004


                    Pamela Davison
                    231 Seymour Road
                    Woodbridge, CT 06525


                    Panzaer Nursery
                    Attn: President
                    17980 W. Baseline Road
                    Beaverton, OR 97006


                    Parks & Pearson LLC
                    Attn: President
                    765 East Main Street
                    Branford, CT 06405


                    Paul Rieur
                    66 Bear Hill Road
                    Bethany, CT 06524
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                    Payment Processing Center
                    Attn: President
                    P.O. Box 22019
                    Albany, NY 12201


                    Philip H. Monagan, Esq.
                    61 Holmes Avenue
                    P. O. Box 2390
                    Waterbury, CT 06722


                    Phoenix Propane
                    Attn: President
                    P.O. Box 540
                    Oxford, CT 06478


                    Plants in Design Inc.
                    Attn: President
                    20905 SW 162nd Avenue
                    Miami, FL 33187


                    Pride Garden
                    Attn: President
                    500 W. Sellers Avenue
                    Ridley Park, PA 19078


                    Razbutton Inc.
                    Attn: President
                    P.O. Box 783006
                    Winter Garden, FL 34778


                    Reading Anthracite Company
                    Attn: President
                    DAL Inc.
                    P.O. Box 162
                    Clifton Heights, PA 19018


                    Richard D. Smith & Co. Inc.
                    Attn: President
                    P.O. Box 734
                    Middletown, NJ 07748


                    ROC Funding Group
                    Attn: President
                    260 Christopher Ln
                    Staten Island, NY 10314
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                    Rodolfo Gaba Jr.
                    Gaba Guerrini Law
                    8583 Irvine Center Drive
                    Suite 500
                    Irvine, CA 92618


                    Ryder Transportation
                    Attn: President
                    P.O. Box 96723
                    Chicago, IL 60693


                    Sachem Capital Corp
                    Attn: President
                    23 Laurel Street
                    Branford, CT 06405


                    Sachem Capital Corp
                    Attn: John Villano
                    360 Lexington Avenue
                    New York, NY 10170


                    Sachem Capital Corp.
                    Attn: Peter Giannotti
                    698 Main St
                    Branford, CT 06405


                    Salmon Foliage
                    Attn: President
                    P.O. Box 519
                    Sorrento, FL 32776


                    Samuel Ollunga
                    750 3rd Avenue
                    9th Floor
                    New York, NY 10017


                    Star Insurance Co.
                    Attn: President
                    P.O. Box 31130
                    Tampa, FL 33631


                    State of Connecticut
                    Dept. of Revenue Services
                    C&E Division, Bankruptcy Unit
                    450 Columbus Blvd., Suite 1
                    Hartford, CT 06103
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                    State of Connecticut
                    Dept. of Labor
                    Attn: Clerk
                    200 Folly Brook Boulevard
                    Wethersfield, CT 06109


                    Steven A. Sugarmann
                    Sugarmann & Sugarmann
                    One Bradley Road
                    P.O. Box 3996
                    Woodbridge, CT 06525


                    Stewarts Greenhouse Inc.
                    Attn: President
                    P.O. Box 1848
                    Mount Dora, FL 32756


                    Synergetic Communication, Inc
                    Attn: Ken Walsh
                    5450 N.W. Central #220
                    Houston, TX 77092


                    TD Bank
                    Attn: President
                    P.O. Box 16027
                    Lewiston, ME 04243


                    Thomas Dufour
                    1129 Essex Place
                    Stratford, CT 06615


                    Timothy J. Murtha
                    Roach & Murtha
                    Attorneys at Law PC
                    6901 Jericho Turnpike Ste 101
                    Syosset, NY 11791


                    Tire Shak Inc.
                    Attn: President
                    12 Great Hill Road
                    Ansonia, CT 06401


                    Town of Bethany
                    Attn: Clerk
                    40 Peck Rd
                    Bethany, CT 06524
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                    Town of Woodbridge
                    Attn: Town Clerk
                    11 Meetinghouse Ln
                    Woodbridge, CT 06525


                    Transworld Systems Inc
                    Attn: President
                    500 Virginia Drive, Suite 514
                    Fort Washington, PA 19034


                    Transworld Systems Inc.
                    Attn: President
                    P.O. Box 15110
                    Wilmington, DE 19850


                    Troy Industrial Solutions
                    Attn: President
                    30 Maple Street
                    Ansonia, CT 06401


                    Valley Discount Oil
                    Attn: President
                    76 Bank Street
                    Seymour, CT 06483


                    Valley Heating Oil LLC
                    Attn: President
                    76 Bank Street
                    Portland, CT 06480


                    W.W. Grainger
                    Attn: President
                    14441 Il Route 60
                    Lake Forest, IL 60045


                    Waterfields Farm
                    Attn: President
                    93 Peck Road
                    Bethany, CT 06524


                    Webster Bank
                    Attn: President
                    696 Amity Road
                    Bethany, CT 06524
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                    Webster Bank
                    Attn: President
                    696 Amity Rd
                    Bethany, CT 06524


                    Webster Bank, NA
                    Attn: President
                    Mail Code - NB150
                    436 Slater Road
                    New Britain, CT 06053


                    Wendy Rutkin
                    120 Dwight Street
                    Apt. 408
                    New Haven, CT 06511


                    Wholesale Collectors
                    Attn: President
                    P.O. Box 5213
                    Janesville, WI 53547


                    William Lasse
                    130 Hill Street
                    Shelton, CT 06484


                    Wojtowicz LLC
                    Attn: President
                    100 Bank Street
                    Seymour, CT 06483


                    World Business Lenders
                    Attn: Donald Jackson
                    101 Hudson Street
                    33rd Floor
                    Jersey City, NJ 07302


                    World Pay US, Inc.
                    Attn: President
                    201 17th Street NW
                    Suite 1000
                    Atlanta, GA 30363


                    Zentek Farms LLC
                    Attn: President
                    325 Higgins Road
                    Cheshire, CT 06410
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                                                               United States Bankruptcy Court
                                                                      District of Connecticut
 In re      Ace Begonias Inc.                                                                            Case No.
                                                                                 Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Ace Begonias Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 30, 2019                                                     /s/ Anthony S. Novak
 Date                                                                Anthony S. Novak
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Ace Begonias Inc.
                                                                     Novak Law Office, P.C.
                                                                     280 Adams Street
                                                                     Manchester, CT 06042
                                                                     860-432-7710 Fax:860-432-7724
                                                                     anthonysnovak@aol.com




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